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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION

TAMAH JADA CLARK EX REL ANTI- )
SEMITISM DEFENSE LEAGUE       )
                              )
            Plaintiff,        )
                              )
    v.                        ) Case No. 1:23-CV-05840-JPB
                              )
X CORP. et al.,               )
                              )
            Defendants.       )
                              )

              DEFENDANT X CORP.’S NOTICE OF COMPLIANCE

        Pursuant to the Court’s Docket Order, counsel for Defendant X Corp.

respectfully submits that on March 8, 2024, X Corp. mailed copies of all of its

previously filed pleadings and exhibits (Doc 23, Doc 24, Doc 25, and Doc 27) to

Plaintiff through USPS and electronic mail.

         Attached hereto is Exhibit A, a copy of the electronic correspondence sent to

Plaintiff on March 8, 2024 regarding the same.

         Dated: May 6, 2024                        Respectfully submitted,

                                                   SHOOK HARDY & BACON L.L.P.

                                                   /s/ Nia S. Wilson
                                                   Colin K. Kelly
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                                                Counsel for Defendant X Corp.¸ via
                                                Special Appearance Only




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                     LOCAL RULE 7.1(D) CERTIFICATION

        I certify that this Notice has been prepared with one of the font and point

selections approved by the Court in LR 5.1(B).

                                         /s/ Nia S. Wilson
                                         Nia S. Wilson

                                         Counsel for Defendant X Corp.




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                          CERTIFICATE OF SERVICE

        I hereby certify that on May 6, 2024, I served a copy of the foregoing

DEFENDANT X CORP.’S NOTICE OF COMPLIANCE upon all parties using

the CM/ECF System, and to Plaintiff via USPS mail and electronic mail to:

Tamah Jada Clark (Pro Se)
Anti-Semitism Defense League
1880 Braselton Highway
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                                        /s/ Nia S. Wilson
                                        Nia S. Wilson

                                        Counsel for Defendant X Corp.




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